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                                                                             January 28, 2019
  VIA ECF
  Honorable Jack B. Weinstein
  United States District Court
  EDNY, Brooklyn Courthouse
  225 Cadman Plaza East
  Brooklyn, NY 11201

                       Re: Larry Thompson v. The City of New York et. al.
                                  Civil Action No. 14-cv-7349
  Your Honor:

         I am the attorney for the plaintiff. I write to submit a trial memorandum as to the
  following issues:

         1. Compensatory Damages must be awarded on a false arrest finding if there was, as
            here, a substantial time in custody following the arrest. See, (Kerman v City of NY,
            374 F3d 93, 124-125 [2d Cir 2004].)

         In contrast, where the jury has found a constitutional violation and there is no genuine
         dispute that the violation resulted in some injury to the plaintiff, the plaintiff is entitled to
         an award of compensatory damages as a matter of law. [**88] See, e.g., Atkins v. City
         of New York, 143 F.3d at 103; Haywood v. Koehler, 78 F.3d at 104; Raysor v. Port
         Authority of New York and New Jersey, 768 F.2d 34, 39 (2d Cir. 1985), cert. denied, 475
         U.S. 1027, 89 L. Ed. 2d 337, 106 S. Ct. 1227 (1986); Wheatley v. Beetar, 637 F.2d at
         867. In Wheatley, for example, a bifurcated trial was held on the plaintiff's claim that he
         had been beaten by county police officers. In the first phase of the trial, the jury found the
         defendants liable for use of excessive force in violation of the plaintiff's constitutional
         rights; in the second phase, the jury awarded damages of just $ 1. The plaintiff moved
         unsuccessfully for a new trial on the issue of damages. On appeal, we reversed. We noted
         that although the jury could reasonably have rejected some of the plaintiff's evidence of
         injury, other injury claims were well substantiated and uncontradicted. Since the jury's
         verdict that excessive force had been used plainly accepted the plaintiff's testimony that
         he had been beaten, we concluded that the plaintiff was entitled as a matter of law to
         some compensation. See 637 F.2d at 865. [**89] Thus, we held that in the second phase
         of the trial, "it was error to charge the jury that an award of nominal damages was
         permissible and an abuse of discretion not to set [such an award] aside." Id.
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        Similarly, where the plaintiff was indisputably deprived of his liberty, and the conduct of
        the defendant responsible for the deprivation was found to be unlawful, we have held that
        the plaintiff is entitled to compensatory, not merely nominal, damages. See Raysor v.
        Port Authority of New York and New Jersey, 768 F.2d at 38-39 ("Raysor"). In Raysor,
        the plaintiff, while attempting to return approximately $ 16 worth of pills to a store, was
        arrested and was detained for several hours. Following his exoneration,
        he [*125] brought suit under § 1983 and state law for false arrest and malicious
        prosecution. The jury found against him on the constitutional claims but found one
        defendant liable on the state-law claims; it awarded the plaintiff compensatory damages
        of $ 16. We held that this award was inadequate to compensate the plaintiff for, inter alia,
        "the loss of time . . . involved in a case of false arrest." 768 F.2d at 39 (internal
        quotation [**90] marks omitted). We noted that:

        New York cases uphold awards of up to $ 10,000 for even short periods of confinement
        without proof of actual damages. See, e.g., Hallenbeck v. City of Albany, 99 A.D.2d 639,
        472 N.Y.S. 2d 187 (1984) ($ 10,000 for three hours); Woodard v. City of Albany, 81
        A.D.2d 947, 439 N.Y.S. 2d 701 (1981) ($ 7,500 for five hours); Guion v. Associated Dry
        Goods Corp., 56 A.D.2d 798, 393 N.Y.S. 2d 8 (1977) ($ 10,000 for three hours), aff'd, 43
        N.Y. 2d 876, 403 N.Y.S. 2d 465, 374 N.E.2d 364 (1978).

        Raysor, 768 F.2d at 39. We inferred that the inadequate verdict was likely the product of
        a jury charge that did not inform the jury that the plaintiff was entitled to recover for the
        loss of intangible rights:

        The admonition not to award "speculative damages" was, of course, correct, as was the
        court's instruction that Raysor had "the burden of proof with respect to the nature and
        extent of his injuries, and with respect to his resulting losses." But the court should have
        made it clear to the jury that it could award monetary damages--the amount
        necessarily [**91] arbitrary and unprovable--for the intangibles which we have referred
        to above. Id. (emphasis added).


        2. Counsel correctly pointed out that the City of New York disposed of the best
           evidence of in this matter, the 911 call itself

            While your Honor ultimately ruled in this case that the defendants did not spoliate the
        911 call, plaintiff’s counsel was permitted to reference the 911 call during closing,
        specifically because defendants relied on the 911 call in their closing and in fact
        attempted to argue to the jury that the 911 call “changed” from a not in progress event to
        an in progress event.

            In this case, plaintiff was arrested on January 14, 2014. The criminal case was
        disposed of on April 15, 2014 and the complaint was filed with this Court on December
        17, 2014.

            As was argued to your Honor previously, the duty to preserve evidence in this matter
        attached as soon as the triggering event occurred as defendants were currently embroiled
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         in criminal litigation and they reasonably should have anticipated civil litigation. As was
         argued to your Honor in plaintiff’s motion for spoliation sanctions, p. 23-24:


             For purposes of spoliation sanctions, the anticipated litigation need not even be the
             same litigation in which the spoliation sanctions are sought to provide notice of a duty
             to preserve evidence. See, Taylor v. City of N.Y., 293 F.R.D. 601, 610-11 (S.D.N.Y.
             2013) (“…courts within the Second Circuit have found that a duty to preserve
             relevant video footage may attach as soon as the triggering incident occurs and prior
             to when a claim is filed.) (collecting cases). A police department and its constituent
             officers have an obligation to preserve evidence obtained during the course of its
             criminal investigations in anticipation of a criminal trial, and its failure to do so will
             justify the imposition of spoliation sanctions in a subsequent civil lawsuit which
             alleges police misconduct. See Manganiello v. City of New York, 612 F.3d 149, 166
             (2d Cir. 2010) (in Plaintiff’s civil lawsuit, rejecting as “frivolous” the contention
             made by the defendant police detective that he had no obligation to preserve the case
             file of a criminal investigation).

          Here, defendants have never specified where, when, who or why the transcript of the 911
  call was destroyed by them. It is unknown if it was destroyed before or after the criminal case
  was terminated. It is unknown if the destruction of the 911 tape was destroyed while the
  criminal case was pending or after. Moreover, defendants relied heavily upon the 911 call as a
  basis for the warrantless entry and arrest of the plaintiff. The plaintiff was certainly within his
  rights in pointing out to the jury that the best evidence which defendants relied upon was made
  unavailable by the defendants themselves.

          It should also be pointed out that in summation, defense counsel pointed out that the 911
  caller was not called to the stand by the plaintiff. If your Honor is inclined to instruct the jury on
  this missing 911 transcript issue, plaintiff requests an instruction that the defendant was in the
  same position as plaintiff to call the 911 caller as a witness in this action.

         3. Rhetorical comment during summation.

         During summation, plaintiff argued that the jury should attempt to put themselves in the
  “shoes” of the plaintiff. This argument is permissible and non prejudicial. See, (Blount v
  Keane, 1992 US Dist LEXIS 12806, at *28-29 [EDNY Aug. 6, 1992, CV-91-0115 (CPS)].)

         Petitioner also characterizes the prosecutor's summation as impermissibly inflammatory.
         Petitioner objects to the request that the jurors put themselves in the shoes of the
         defendant and then paint a picture of what might have happened. This is, however,
         acceptable. The prosecution is allowed wide latitude to use rhetorical devices during
         closing argument. LaMorta, 950 F.2d at 85.

         See also, (United States v Jean, 1998 U.S. App. LEXIS 24471, at *5 [2d Cir Sep. 23,
  1998, No. 97-1618]:

         Similarly, comparing defendant to Job is a rhetorical device. Litigants are given wide
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        latitude in their closing statements. United States v. Bagaric, 706 F.2d 42, 60 (2d Cir.
        1983). A prosecutor is not precluded from using sarcasm or "colorful adjectives" in
        summation. United States v. Rivera, 971 F.2d 876, 884 (2d Cir. 1992); United States v.
        Bagaric, 706 F.2d 42, 60 (2d Cir. 1983).

        Thank you for your consideration.

                                                                    Very Truly Yours:

                                                                            /S

                                                                    David A. Zelman, Esq.
